
OPINION OF THE COURT
PER CURIAM
The appellant, who had sued his former wife alleging a leasehold interest in property awarded in a dissolution proceeding, seeks review of an order denying his motion for disqualification of the trial judge. Such motion was denied as untimely and insufficient as a matter of law.
Rule 9.130 of the Florida Rules of Appellate Procedure precludes *47this Court from hearing the appeal of this non-final order. Therefore, this Court not having jurisdiction, the appeal is dismissed and the judgment is affirmed.1

 We note that in this case there is no transcript of any proceedings. It is the appellant’s obligation to present a record to support his position. In the event that this court had jurisdiction, the record is insufficient to mandate reversal. See Wilder v Altman, 179 So.2d 250 (Fla. 3d DCA 1986). See Fischer v Knuck, 497 So.2d 240 (Fla. 1986).

